











Opinion issued June 15, 2006












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In The
Court of Appeals
For The
First District of Texas




NO. 01-06-00444-CV 




IN RE HARRY L. BOWLES, Relator




Original Proceeding on Petition for Writ of Prohibition




MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator Harry L. Bowles has filed a petition for writ of prohibition asking this
court to “prevent the enforcement” of a permanent anti-suit injunction rendered
against him by the trial court on March 21, 2005.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We deny the petition for writ of prohibition. 
PER CURIAM
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Panel consists of Justices Keyes, Alcala, and Bland.
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